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             UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF NEW YORK

              SVOTHI, INC.,

                          Plaintiff-Counterclaim Defendant,

                                       v.
                                                                                    No. 25 CV 0333
              DARK ALLEY MEDIA, LLC and
                 ROBERT FELT

                      Defendants-Counterclaim Plaintiffs.


                                            DECLARATION OF CYNTHIA CORSO

             I, Cynthia Corso, declare as follows:

                     1.        I am the financial manager of SVOTHI, Inc., the Plaintiff in this case. I have been

             employed by SVOTHI for over ten years.

                     2.        I make this declaration in opposition to Defendants’ motion for a preliminary

             injunction.

             A.      SVOTHI’s technology business

                     3.        SVOTHI owns and operates an adult streaming and social media platform. Its

             properties include many websites, including rawfuckclub.com (the “Website”).

                     4.        SVOTHI has owned and operated the Website continuously since in or about

             February 2010. The terms and conditions posted on the website identify SVOTHI as the owner

             and operator of the website and, to the best of my knowledge and understanding, those terms have

             identified SVOTHI as the owner and operator of the website at all times since 2010.

                     5.        At a high level, the Website is a subscription service. Members of the Website

             (“Members”) pay SVOTHI recurring fees (every one, three, or six months) for access to adult

             entertainment on the Website. Users of the website (“Users”) can also access content, and both



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             Members and Users can participate in social media activities, including posting messages content,

             and interacting with other Users and producers of content.

                      6.      As of January 2025, the Website had approximately 55,000 Members and 290,000

             Users.

                      7.      The Website also has relationships with hundreds of producers. Producers are

             individuals and businesses that create video content (typically videos of a sexual nature), upload

             them to the Website, and earn revenues based on (among other factors) the amount of time Users

             spend viewing that video content.

             B.       SVOTHI’s compliance efforts

                      8.      Running an adult media business is complicated not only from an operational

             technology perspective, but also from a legal and compliance perspective. There are a host of laws

             and regulations that govern sexually-oriented business, including but not limited to 18 U.S.C.

             § 2257, which imposes criminal liability for violations of recordkeeping requirements that apply

             to producers of “sexually explicit content.” Id. SVOTHI takes steps to ensure that all of the

             producers who upload content to the site comply with § 2257, and it also makes continuous efforts

             to verify that the persons depicted in videos and other media posted on the Website have consented

             to appear in such media, and have granted appropriate contractual permissions to SVOTHI to

             reproduce and distribute that content on the Website.

                      9.      SVOTHI’s dependence on the regulated financial and payment-processing system

             also requires careful attention to contractual compliance requirements. For example, the

             Mastercard and Visa payment processing networks impose strict obligations as a condition of

             receiving credit card payments. For these reasons too, SVOTHI has invested years of effort, and

             substantial capital, in developing and implementing a compliance program that ensures that no



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             objectionable, illegal or otherwise non-compliant content is uploaded to or available on the

             Website.

                     10.      Defendant Dark Alley Media, LLC is a producer that, until in or about November

             2024, uploaded video content to the Website. SVOTHI terminated Dark Alley Media’s producer

             permissions for, among other things, failing to demonstrate compliance with § 2257, violating the

             Website’s Publishing Rules related to model/performer consent, violating Publishing Rules related

             to the depiction of illegal and objectionable acts, and otherwise violating the Website’s compliance

             policies.

             C.      SVOTHI’s Marks and the related marks at issue in the Motion

                     11.      The Website uses and since no later than 2010 has continuously used the marks

             RFC, RFC.com, and             to identify its media and technology services to consumers. I understand

             that those are the trademarks identified in the Complaint that SVOTHI filed against the Defendants

             in this case in January 2025. The Website also uses the other related marks and properties over

             which the Defendants claim exclusive rights in this Motion, including rawfuckclub.com, “Raw

             Fuck Club” and “RFC Channels.”

                     12.      To my knowledge SVOTHI does not use the domain “rfcchannels.com” that the

             Defendants claim in their Motion, though it appears to me to be very similar to the marks and

             domains that SVOTHI does use in connection with its business.

             D.      The requested injunction would immediately harm SVOTHI and its Users

                     13.      I understand that the Defendants seek an injunction immediately prohibiting

             SVOTHI from using all of the above-mentioned trademarks and domain names, along with any

             similar domain names or trademarks.




                                                                                         CORSO DECLARATION | 3
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                     14.      Entry of that injunction would be hugely disruptive and harmful to SVOTHI’s

             business. It would immediately interfere with our ability to operate the Website, which is hosted

             at rawfuckclub.com, and which for years has been available at that same domain and using the

             same consistent RFC Marks and brand.

                     15.      Members, who have paid and continue to pay recurring membership fees for access

             to the Website, would find themselves unable to access the services that they have paid for; they

             would be confused and angry, and would terminate (or charge back) their paid memberships,

             resulting in direct and immediate financial harm to SVOTHI. Users would find themselves unable

             to access the site.

                     16.      In addition, the injunction would harm the whole network of SVOTHI affiliates,

             such as other web entities that earn revenue by referring user traffic to the Website, and would

             leave users of those network affiliates with broken links and web dead-ends.

                     17.      The injunction would also immediately harm hundreds of producers, many of

             whom are individuals who rely on the revenue they earn from their relationship with the Website.

             E.      SVOTHI, Inc. and VideoApp, Inc.

                     18.      SVOTHI, Inc. is a New York corporation that was incorporated in July 2000. It has

             been in continuous existence since 2000.

                     19.      I understand that the Defendants claim in their motion that SVOTHI “operate[s] as

             a single economic unit” with another company known as VideoApp, Inc., which the Defendants

             identify as “a Nevis corporation.”

                     20.      SVOTHI, Inc. and VideoApp, Inc. are separate corporate entities with separate

             corporate existences. SVOTHI, Inc. uses its own bank accounts, has its own corporate organization




                                                                                      CORSO DECLARATION | 4
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             and governance, has its own operations, and owns and controls the Website without involvement

             by VideoApp, Inc.

                      21.     SVOTHI is adequately capitalized to run its business (though that status could be

             in jeopardy if the Court were to enter the requested injunction).

             F.       Conclusion

                      22.     I request that the Court deny the Defendants’ motion.

                      23.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

             is true and correct. I would testify to the same at a hearing on Defendants’ application for

             preliminary injunctive relief.

             Dated:           February 12, 2025
                                                                    Cynthia Corso




                                                                                       CORSO DECLARATION | 5
